Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 1 of 16




                     EXHIBIT 121
        Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 2 of 16

                                                                                                     2020-08-23 00:13:32



Calfrac Well Services Ltd

Fri 08/21/2020 18:43 PM




Wilks Brothers, LLC Releases an Economic Comparison
Presentation of its Calfrac Superior Alternative Proposal
Versus the Initial Management Transaction at
www.afaircalfrac.com

[21-August-2020]


     Stakeholders must not be misled and deserve a comparison of the proposals and details on the
     disproportionate beneficiaries of the Company's insider deal

     In addition to providing a significantly superior economic recovery across all levels of Calfrac's capital
     structure, the substantially reduced debt levels inherent in Wilks' proposal ensures a stronger, more
     sustainable, capital structure for Calfrac

     If shareholders reject the insider deal, Wilks' Superior Alternative Proposal, the full details of which are
     available at www.afaircalfrac.com, will remain available to the Company

     CISCO, Texas, Aug. 21, 2020 /CNW/ - Wilks Brothers, LLC ("Wilks") announced today they have
     released a presentation to the stakeholders of Calfrac Well Services Ltd. ("Calfrac" or the "Company")
     (TSX: CFW) that provides details of Wilks' proposed alternative recapitalization transaction (the
     "Superior Alternative Proposal") to the self-interested management-led recapitalization transaction (the
     "Initial Management Transaction").

     In response to the Special Committee's deeply troubling rejection of the Superior Alternative Proposal,
     based solely on the lack of support from a small group of self-selected unsecured noteholders and not on a
     determination that the Superior Alternative Proposal did not provide better recoveries to stakeholders and
     enhance the Company's financial condition, Wilks believes all stakeholders deserve a comparative
     analysis. The presentation details the key terms of the Superior Alternative Proposal, as well as a capital
     structure comparison between the two transactions and a recovery analysis.

     Wilks encourages all stakeholders to review its Presentation and Term Sheet. Both are available at
     www.afaircalfrac.com.

     It is important that stakeholders properly compare their recoveries under the competing plans using a
     realistic assessment. In that regard, the presentation provides a comparison using the best and most prudent
     gauge for enterprise value, the one implied by the market prices of the Company's securities.

     Stakeholders should note that in addition to providing a significantly superior economic recovery across all
     levels of Calfrac's capital structure, the Superior Alternative Proposal provides significantly less downside
     risk to recovery due to substantially reduced debt levels.
                     Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 3 of 16
               Shareholders are encouraged to vote their shares AGAINST the Initial Management Transaction in order to
               stop this self-enrichment at their expense.

               Wilks will vote all of its sharesi AGAINST the inferior and flawed Initial Management Transaction
               and strongly recommends that its fellow shareholders do the same.

               Voice Your Support / Questions
               Stakeholders who wish to voice their support for the Superior Alternative Proposal, or who have questions,
               may contact our communications advisor, Laurel Hill Advisory Group, by phone, toll-free at 1-877-452-
               7184 (North America) or +1-416-304-0211 (outside North America) or by e-mail
               at assistance@laurelhill.com.

               Additional Disclosure

               Wilks is relying on the exemption under section 9.2(4) of National Instrument 51-102 - Continuous
               Disclosure Obligations and exemptive relief provided by the Alberta Securities Commission in an Order
               dated August 4, 2020 (the "Order") to make this public broadcast solicitation. The following information
               is provided in accordance with corporate and securities laws applicable to public broadcast solicitations.
               This solicitation is being made by Wilks, and not by or on behalf of the management of Calfrac. Wilks has
               engaged Laurel Hill Advisory Group to act as our communications advisor and proxy solicitation agent.
               Based upon publicly available information, Calfrac's registered office is at 4500, 855-2nd Street S.W.
               Calgary, Alberta, Canada, T2P 4K7, and its head office is at 411-8th Avenue S.W. Calgary, Alberta,
               Canada, T2P 1E3. Wilks is soliciting proxies in reliance upon the public broadcast exemption to the
               solicitation requirements under applicable Canadian corporate and securities laws (including the Order),
               conveyed by way of public broadcast, including press release, speech or publication, and by any other
               manner permitted under applicable Canadian laws. In addition, this solicitation may be made by mail,
               telephone, facsimile, email or other electronic means as well as by newspaper or other media advertising
               and in person. All costs incurred for the solicitation will be borne by Wilks.



               ____________________________

                   Wilks, together with Dan and Staci Wilks, hold 28,720,172 Common Shares, representing approximately

               i
                   19.78% of the issued and outstanding Common Shares of Calfrac on the basis of Calfrac's disclosure in its
                   management discussion and analysis, prepared as of July 29, 2020, that as at July 29, 2020 there are
                   145,171,194 Common Shares outstanding.

               SOURCE Wilks Brothers LLC



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Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 4 of 16
          Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 5 of 16




WILKS BROTHERS PROPOSAL
Supplemental Information

8.21.20
                                    Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 6 of 16

LEGAL DISCLAIMER
RELIANCE ON PUBLIC BROADCAST EXEMPTION

Wilks Brothers LLC (”Wilks”) is relying on the exemption under section 9.2(4) of National Instrument 51-102-Continuous Disclosure Obligations and exemptive relief provided by the
Alberta Securities Commission in an Order dated August 4, 2020 (the “Order”) to make this public broadcast solicitation. The following information is provided in accordance with
corporate and securities laws applicable to public broadcast solicitations. This solicitation is being made by Wilks, and not by or on behalf of the management of Calfrac. Wilks has
engaged Laurel Hill Advisory Group to act as our communications advisor and proxy solicitation agent and will receive fees for its services plus ancillary payments and disbursements.
Based upon publicly available information, Calfrac’s registered office is at 4500, 855-2nd Street S.W. Calgary, Alberta, Canada T2P 4K7 and its head office is at 411-8th Avenue S.W.
Calgary, Alberta T2P 1E3. Wilks is soliciting proxies in reliance upon the public broadcast exemption to the solicitation requirements under applicable Canadian corporate and
securities laws (including the Order), conveyed by way of public broadcast, including press release, speech or publication, and by any other manner permitted under applicable
Canadian laws. In addition, this solicitation may be made by mail, telephone, facsimile, email or other electronic means as well as by newspaper or other media advertising and in
person. All costs incurred for the solicitation will be borne by Wilks.

FORWARD-LOOKING STATEMENTS

Certain statements contained in this presentation are or contain “forward-looking statements” and are prospective in nature. Forward-looking statements are not based on historical
facts, but rather on current expectations and projections about future events and are therefore subject to risks and uncertainties that could cause actual results to differ materially
from the future results expressed or implied by the forward-looking statements. Often, but not always, forward-looking statements can be identified by the use of forward-looking
words such as “plans”, “expects”, “intends”, “anticipates”, or variations of such words and phrases or statements that certain actions, events or results “may”, “could”, “should”,
“would”, “might” or “will” be taken, occur or be achieved. Although Wilks believes that the expectations reflected in such forward-looking statements are reasonable, such
statements involve risks and uncertainties, and undue reliance should not be placed on such statements. Material factors or assumptions that were applied in formulating the
forward-looking information contained herein include assumptions regarding the future enterprise value of Calfrac, examples setting out illustrative recoveries to various classes of
security holders; assumptions as to EBITDA; the assumption that the business and economic conditions affecting Calfrac’s operations will continue substantially in the current state,
including, without limitation, with respect to industry conditions, general levels of economic activity, continuity and availability of personnel and third party service providers, local
and international laws and regulations, foreign currency exchange rates and interest rates, inflation, and taxes, and that there will be no unplanned material changes to Calfrac’s
facilities, operations and customer and employee relations. Wilks cautions that the foregoing list of material factors and assumptions is not exhaustive. Many of these assumptions
are based on factors and events that are not within the control of Wilks and there is no assurance that they will prove correct. Important factors that could cause actual results,
performance or achievements to differ materially from those expressed or implied by such forward-looking statements include, among other things, actions taken by Calfrac with
respect to the Management Transaction, and agreements entered into among the parties to such transaction, industry risk and other risks inherent in the running of the business of
Calfrac, foreign currency exchange rates and interest rates, general economic conditions, legislative or regulatory changes, changes in income tax laws, and changes in capital or
securities markets. These are not necessarily all of the important factors that could cause actual results to differ materially from those expressed in any of Wilks’ forward-looking
statements. Other unknown and unpredictable factors could also impact its results. Many of these risks and uncertainties relate to factors beyond Wilks’ ability to control or estimate
precisely. Consequently, there can be no assurance that the actual results or developments anticipated by Wilks will be realized or, even if substantially realized, that they will have
the expected consequences for, or effects on, Calfrac, its future results and performance. Forward-looking statements in this press release are based on Wilks’ beliefs and opinions at
the time the statements are made, and there should be no expectation that these forward-looking statements will be updated or supplemented as a result of new information,
estimates or opinions, future events or results or otherwise, and Wilks disavows any obligation to do so except as required by law.

Nothing herein shall be deemed to be an acknowledgement or acceptance by Wilks that the terms of the Initial Management Transaction are legally permissible, appropriate or
capable of implementation.




                                                                                                                                                                                       2
               Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 7 of 16


SUMMARY OF THE WILKS
SUPERIOR ALTERNATIVE PROPOSAL
• On August 4th, the Wilks Brothers, LLC submitted a superior alternative
  recapitalization proposal to the board of directors of Calfrac (the “Wilks
  Superior Alternative Proposal” or the “Wilks Proposal”)
• The Wilks Superior Alternative Proposal will significantly de-lever Calfrac
  and provide superior value to stakeholders at all levels of Calfrac’s capital
  structure
• The significantly reduced debt levels under the Wilks Proposal will allow the
  Company to effectively compete against other well-capitalized peers without
  being hamstrung by onerous debt service requirements
• The Wilks Proposal is fully committed, not subject to any financing or due
  diligence conditions and capable of being immediately implemented
• In contrast, the management-led recapitalization transaction (the “Initial
  Management Transaction” or the “Management Transaction”), if it proceeds,
  would instead result in a continuing highly leveraged Calfrac, provide inferior
  recoveries to stakeholders, and is designed to unfairly enrich certain key
  insiders and a small select group of stakeholders of the Company

                                                                                     3
                       Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 8 of 16


KEY TERMS OF THE WILKS PROPOSAL
Wilks Brothers would provide consideration of C$239mm(1) toward the funding of the
recapitalization transaction, and in exchange would receive 60% of the pro forma equity
of the recapitalized Company. As part of the Wilks Proposal, stakeholders would
receive the following treatment:




Notes:
1) Consideration consists of extinguishment of C$164mm of 2L Secured Notes and payment of C$75mm to be used toward the
   paydown of the CAD revolving term loan. The number is net of the breakup fee that would be payable to insiders.
2) Debt balances are shown as of the 2Q20 Interim Report.


                                                                                                                         4
                       Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 9 of 16

CAPITAL STRUCTURE COMPARISON
 The Management Transaction leaves the Company more than 5x leveraged than in the Wilks Proposal

 Investors should not be fooled by the Pre-1.5L Conversion pro forma equity ownership under the
 Management Transaction, given the extremely low, deep-in-the-money conversion price of the Notes

 Stakeholders should compare the Post-1.5L Conversion capital structure to the Wilks Proposal




Notes:
• Debt and cash balances as of 2Q20 interim report
• Assumes the 1.5L notes convert at maturity after accruing three years of 10% PIK (payment-in-kind) interest
                                                                                                                5
                 Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 10 of 16


1.5L NOTE DILUTION: DON'T BE FOOLED
It is important that stakeholders receiving or retaining equity under the
Management Transaction properly understand and account for the tremendous
dilution of the 1.5L Notes

•   The 1.5L Notes have the right to convert into 37,530 shares per C$1,000 principal,
    i.e., the conversion price is C$0.02665
•   Therefore, holders of the $60mm 1.5L Notes can convert their loan into 2.25 billion
    shares on day 1 of issuance
•   Furthermore, due to PIK interest, the loan balance at the end of three years will have
    grown to C$80.41mm, and can then convert into 3.02 billion shares, for no additional
    consideration
•   Thus, the conversion price, when accounting for the PIK interest, is actually $0.01988
    (i.e., C$60mm ÷ 3.02 billion shares) – more than 87% below the 8/14/20 closing
    price of C$0.15

         This means Current Shareholders and Noteholders will almost certainly
         face significant dilution of the equity received under the Management
         Transaction. The only scenario where they don’t, is where shares have
         been nearly entirely wiped out and are trading for less than C$0.02!

                                                                                             6
               Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 11 of 16


RECOVERY ANALYSIS
• On the following slides, we compare pro-forma recoveries to the Current
  Shareholders and Unsecured Noteholders under the Wilks Proposal and the
  Management Transaction
• It is important that stakeholders properly compare their recoveries under the
  competing plans using a realistic assessment of enterprise value
• The following comparisons are done using the best and most prudent gauge
  for enterprise value; the one implied by the market prices of the Company’s
  securities (see Appendix)
• We then show a recovery analysis for both plans over a wide range of
  enterprise values centered around the market implied enterprise value



Stakeholders should note that in addition to providing a significantly superior
economic recovery across a range of enterprise values, the Wilks Proposal
provides significantly less downside risk to recovery due to the substantially
reduced leverage inherent in the Wilks Proposal


                                                                                      7
                      Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 12 of 16


EQUITY HOLDERS RECEIVE SUPERIOR VALUE
UNDER THE WILKS PROPOSAL

       Management Transaction                                                 Wilks Proposal
C$ millions



Enterprise Value                                 375        Enterprise Value                                375
 Less: CAD Revolving Term Loan                  (125)        Less: CAD Revolving Term Loan                  (95)
 Less: 10.875% 2L Secured Notes                 (164)        Less: 10.875% 2L Secured Notes                    -
 Less: New Money 1.5L                            (60)        Less: New Money 1.5L                              -
Equity Value                                      26        Equity Value                                    280
 Less: Value of Warrants Issued                     -        Less: Value of Warrants Issued                  (3)
Distributable Value                               26        Distributable Value                             277

Share of Common                                 7.8%        Share of Common                                 5.0%

Value attributable to pro-forma common shares      2        Value attributable to pro-forma common shares    14
Value attributable to warrants                      -       Value attributable to warrants                    3

Total Value to Shareholders                       2         Total Value to Shareholders                      17




                                                                                                                  8
                        Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 13 of 16


UNSECURED NOTEHOLDERS RECEIVE SUPERIOR VALUE
UNDER THE WILKS PROPOSAL

        Management Transaction                                                  Wilks Proposal
C$ millions
Enterprise Value                                  375         Enterprise Value                                 375
 Less: CAD Revolving Term Loan                   (125)         Less: CAD Revolving Term Loan                   (95)
 Less: 10.875% 2L Secured Notes                  (164)         Less: 10.875% 2L Secured Notes                     -
 Less: New Money 1.5L                             (60)         Less: New Money 1.5L                               -
Equity Value                                       26         Equity Value                                     280
 Less: Value of Warrants Issued                      -         Less: Value of Warrants Issued                   (3)
Distributable Value                                26         Distributable Value                              277

Balance of 1.5L Note after 3-YR PIK                80
Investment in 1.5L Note                           (60)
Net Proceeds of 1.5L Note                          20

Share of Common                                 89.3%         Share of Common                                 35.0%
Share of 1.5L                                   15.0%

Value attributable to pro-forma common shares      23         Value attributable to pro-forma common shares     97
Value attributable to warrants                      3

Total Value to Unsecured                          26          Total Value to Unsecured                          97




                                                                                                                  9
                        Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 14 of 16


    COMPARISON ACROSS A RANGE OF
    ENTERPRISE VALUES (EV)
     C$ millions

  Illustrative Recoveries to Unsecured Noteholders
                                                                                 Legend

                                                                                      Wilks Proposal

                                                                                       Management
                                                                                       Transaction
 EV (C$ millions)

 EV/21e EBITDA(1)



  Illustrative Recoveries to Current Shareholders

                                                                                  Under the Management
                                                                                  Transaction, recoveries
                                                                                  to Current Shareholders
                                                                                  and Unsecured
                                                                                  Noteholders are easily
EV (C$ millions)                                                                  wiped out, due to
EV/21e EBITDA(1)
                                                                                  excessive levels of debt
  Note:
  1) Bloomberg consensus 2021 EBITDA of C$29.2mm

                                                                                                       10
          Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 15 of 16




APPENDIX
Supplemental Information



                                                                                 11
                     Case 20-33529 Document 108-1 Filed in TXSB on 08/23/20 Page 16 of 16


MARK-TO-MARKET ENTERPRISE VALUE

The enterprise value implied by the market prices of the Company’s securities
is the most realistic and prudent barometer of value for assessing recovery
under the competing plans.
C$ millions




Notes:
• Face amounts and shares outstanding sourced from Q220 interim report
• Face amounts in USD were converted using the 8.3.20 CAD/USD exchange rate of 0.7463
• Bond and stock prices sourced from Bloomberg as of 7.31.20

                                                                                            12
